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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

EDWARD BRAGGS, et al.,                     )
                                           )
             Plaintiffs,                   )
                                           )      Case No. 2:14-cv-00601-MHT
v.                                         )
                                           )   District Judge Myron H. Thompson
JOHN HAMM, et al.,                         )
                                           )
             Defendants.                   )

                 JOINT STATUS REPORT REGARDING
               ADOC’S APPLICATION FOR NIC TRAINING
      Plaintiffs and Defendants JOHN HAMM (“Commissioner Hamm”), in his

official capacity as Commissioner of the Alabama Department of Corrections

(“ADOC”), and DEBORAH CROOK (“Deputy Commissioner” and, collectively

with Commissioner Hamm, the “State”), in her official capacity as ADOC’s Deputy

Commissioner, Office of Health Services (Plaintiffs together with the State, the

“Parties”), hereby jointly submit this status report regarding ADOC’s application to

the National Institute of Corrections (“NIC”) for training on conducting a staffing

analysis.

      On October 11, 2022, this Court ordered the Parties “to look into why NIC

has rejected ADOC’s applications and what, if anything, ADOC can do to boost the

likelihood of its success in getting NIC training in early 2023.” (Doc. 3281). On

October 3, 2022, the State filed its Monthly Staffing Analysis Report reporting that
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on September 27, 2022, the NIC offered ADOC an opportunity to attend “Staffing

Analysis Implementation Project” training. (Doc. 3818-1). ADOC accepted the

opportunity to attend the training and identified five (5) members of the Resource

Planning Unit to attend. The training begins on November 1, 2022 and concludes

on January 24, 2023.

      Date: October 28, 2022


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